Case 2:04-cr-20244-.]PI\/|-tmp Document 80 Filed 07/01/05 Page 1 of 2 Page|D 98

U'NITED STATES DISTRICT COURT HLED BY'““`:'M-_“`D'c'
FOR THE

wESTERN DISTRICT oF TENNESSEE 05 JUL__| AH|@: brg
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CLEP.?»§, 133 D§STH§CT COURT

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UNITED sTATEs oF AMERICA cAsE No. 04-2`5!-'§4"11_‘1,1&9"‘ H'S

V.

ard/wva

RONNIE HENRY

APPLICATION, ORDER and WRIT FOR HABEAS CORPUS AD TESTIFICANDUM
Special Assistant United States Attorney David N. Pritchard
applies to the Court for a Writ to have WILLIE GATEWOODl RNI §
14589, DOB: 1;;;§£1956, BOOKING # 04139401, now being detained in
the Shelby County Penal Farm appear for trial on Tuesday, July 5,
2005 at 9:00 a.m. and such other appearances as this Court may
direct.

Respectfully submitted on July l, 2005.

David N. Pritchard
Special.AssistantIJ.S. Attorney

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Upon consideration of the foregoing Application, David Jolley,
U.S. Marshal, Western District of Tennessee, Memphis, TN,

Sheriff/Warden, Shelby County Penal Farm:
YOU ARE HEREBY COI\D.’LANDED to have WILLIE GATEWOOD, RNI # 14589,

DOB: 12/26/1956, BOOKING # 04139401, appear at the United States

District Court on the date and time aforementioned. < YY\Q{L&A\R:>
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ENTERED this day of July, 2005.

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Notice of Distribution

This notice confirms a copy of the document docketed as number 80 in
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July ], 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

